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7                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
8                                          AT SEATTLE
9
10         VETERANS FOR PEACE, GREATER
           SEATTLE, CHAPTER 92, aka                       No. _______________
11         VETERANS FOR PEACE, a nonprofit
12         corporation,
                             Plaintiff,                   COMPLAINT
13
14                             v.

15         CITY OF AUBURN, a municipal
           corporation,
16
17                                     Defendant.

18
19
                                          I.        INTRODUCTION
20
             1.       Defendant City of Auburn has engaged in unlawful viewpoint discrimination by
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22   excluding Plaintiff Veterans for Peace, Greater Seattle, Chapter 92 (“Veterans for Peace”) from

23   the 2012 Auburn Veterans Day Parade, a parade in which Plaintiff Veterans for Peace has

24   marched for the last six years.
25           2.       The purpose of the 2012 parade is “to positively focus on honoring our country’s
26   veterans and active military personnel,” and “to give honor to our country’s military personnel
27   and veterans and to their military missions of defending freedom around the world.” Plaintiff
28
     Veterans for Peace “positively focus[es] on honoring” and “give[s] honor” to veterans and active
29
     military personnel through its pro-peace message and activities.

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1            3.       Defendant limits parade participation to certain types of groups, including veteran
2    groups such as Plaintiff Veterans for Peace. Claiming that it receives more parade applicants
3    than it can permit to participate, Defendant states that it approves only those applications “that
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     most closely meet the goals and purpose of Auburn’s Veterans Day Parade.” Although Plaintiff
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     Veterans for Peace has participated in Auburn’s Veterans Day Parade previously, this year
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     Defendant denied Plaintiff Veterans for Peace’s application to participate in the parade.
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             4.       Defendant’s Veterans Day Parade rules and regulations are unconstitutional on
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     their face and as applied to Plaintiff Veterans for Peace’s application in violation of the First
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10   Amendment of the United States Constitution because they are unreasonable in light of the

11   purpose served by the forum -- a parade, and are not viewpoint neutral.

12                                             II.    PARTIES
13           5.       Plaintiff Veterans for Peace is a 501(c)(3) nonprofit corporation and veterans’
14   organization. Veterans for Peace engages in a range of pro-peace activities to increase public
15   awareness of the costs of war, to restrain the federal government from intervening in the internal
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     affairs of other nations, to end the arms race and reduce and eventually eliminate nuclear
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     weapons, to seek justice for veterans and victims of war, and to abolish war as an instrument of
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     national policy.
19
             6.       Defendant City of Auburn is a Washington noncharter code city governed by
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     Chapter 35A.12 RCW. See AMC § 1.08.010.
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22                                 III.    JURISDICTION AND VENUE

23           7.       The Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 (federal

24   question jurisdiction) and 28 U.S.C. § 1343 (civil rights jurisdiction).
25           8.       The Court has personal jurisdiction over Defendant City of Auburn.
26           9.       Venue is proper in this district pursuant to 28 U.S.C. § 1391(b).
27                                              IV.     FACTS
28
             10.      For the last 46 years, Defendant City of Auburn has sponsored an annual Veterans
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     Day Parade that Defendant asserts is one of the largest of its type west of the Mississippi.

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1            11.      Participation in the parade is governed by rules and regulations issued by
2    Defendant.
3            12.      The purpose of the 2012 Auburn Veterans Day Parade is “to positively focus on
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     honoring our country’s veterans and active military personnel,” and “to give honor to our
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     country’s military personnel and veterans and to their military missions of defending freedom
6
     around the world.” Defendant City of Auburn states that it receives more parade applications
7
     than it can approve to participate and approves only those “that most closely meet the goals and
8
     purpose” of the parade.
9
10           13.      Plaintiff Veterans for Peace’s mission is to increase public awareness of the costs

11   of war; to restrain our government from intervening, overtly and covertly, in the internal affairs

12   of other nations; to end the arms race and to reduce and eventually eliminate nuclear weapons; to
13   seek justice for veterans and victims of war; and to abolish war as an instrument of national
14   policy. To those ends, Plaintiff Veterans for Peace engages in a range of pro-peace activities, and
15   marching in the Auburn Veterans Day Parade is a significant event that allows Veterans for
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     Peace to communicate its message to a broad audience.
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             14.      On information and belief, Plaintiff Veterans for Peace has participated in the
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     Auburn Veterans Day Parade for the last six years.
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             15.      On or about September 13, 2012, Plaintiff Veterans for Peace submitted an
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     application through Defendant’s website to participate in the 2012 Auburn Veterans Day Parade.
21
22   Plaintiff Veterans for Peace generally described its parade entry as honoring veterans and active

23   military personnel by working to restrain the government from intervening in the affairs of other

24   nations and to abolish war as an instrument of national policy so that no soldier will be ordered
25   to place limb, life, or soul in jeopardy for an unjust or unworthy cause.
26           16.      Plaintiff Veterans for Peace is a “veteran group” consistent with the 2012 parade
27   rules and regulations.
28
             17.      Plaintiff Veterans for Peace’s participation in the 2012 Auburn Veterans Day
29
     Parade is consistent with the parade’s purpose as defined by Defendant City of Auburn.

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1              18.     On or about October 4, 2012, Defendant denied Plaintiff Veterans for Peace’s
2    parade application on the grounds that the City “receive[s] more applications than [it] can
3    successfully accommodate” in the parade, and that the City has to “choose those that most
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     closely meet the goals and purpose of the event.”
5
               19.     On or about October 9, 2012, Plaintiff Veterans for Peace appealed the denial,
6
     requesting reconsideration of its application to participate in the 2012 Auburn Veterans Day
7
     Parade.
8
               20.     On or about October 10, 2012, Thomas Campbell, an acquaintance of a Veterans
9
10   for Peace member, spoke with Daryl Faber, Director of the Auburn Parks, Arts & Recreation

11   Department, who confirmed that the decision to deny Plaintiff’s parade application was made

12   because of the organization’s message.
13             21.     On or about October 15, 2012, Defendant affirmed the denial of Plaintiff Veterans
14   for Peace’s parade application on the grounds that “the parade has too many applicants, [and
15   Defendant] chose those that most closely meet the goals and purpose of the Auburn’s (sic)
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     Veterans Day Parade.”
17
               22.     On October 31, 2012, the City published the 2012 Auburn Veterans Day Parade
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     Line-Up on its website. The parade participants include among others non-veteran groups such
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     as Kiwanis International, Auburn Optimist Club, Daffodil Festival Traveling Float, ABATE of
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     Washington-South King County Chapter (ABATE is a politically active organization working on
21
22   motorcyclists rights), and the Classical Glass Corvette Club.

23                                       V.     CAUSES OF ACTION

24                    Violation of the First Amendment of the United States Constitution

25             23.     Plaintiff incorporates by reference paragraphs 1 to 22 of this Complaint.
26             24.     Defendant City of Auburn’s decision to refuse to allow Plaintiff to participate in
27   the 2012 Auburn Veterans Day Parade violates the First Amendment of the United States
28   Constitution, which is made applicable to the state entities through the Fourteenth Amendment,
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     as applied. Defendant’s reliance on its 2012 parade rules and regulations as justification for its

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1    exclusion of Plaintiff from the 2012 parade violates the First Amendment of the United States
2    Constitution as applied and on its face.
3              25.     The 2012 parade rules and regulations grant excessive discretion to government
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     officials to approve or deny applications to participate in the Auburn Veterans Day Parade. The
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     parade rules contain no criteria or standards to guide Defendant’s agents in their decision to
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     approve or deny applications. The parade rules provide insufficient procedural safeguards for
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     those wishing to appeal a denial of an application to participate in the parade.
8
               26.     The parade rules are not reasonable in light of the purpose served by the forum,
9
10   and they are not viewpoint neutral.

11             27.     Through the adoption of the parade rules and regulations, Defendant has, under

12   color of state law, deprived Plaintiff and its members of rights, privileges, or immunities secured
13   by the United States Constitution or laws of the United States, and they are subject to liability
14   pursuant to 42 U.S.C. § 1983.
15             28.     The injuries suffered by Plaintiff cannot be fully compensated by monetary
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     damages. If enforcement of the parade rules and regulations is not enjoined, Plaintiff and its
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     members will suffer irreparable injury, including, but not limited to, the chilling of free speech
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     rights.
19
                                        VI.     PRAYER FOR RELIEF
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               Plaintiff respectfully requests the following relief:
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22             A.      A temporary restraining order and preliminary relief ordering Defendant to

23   approve Plaintiff’s 2012 Auburn Veterans Day Parade application and allow Plaintiff to march in

24   the 2012 Auburn Veterans Day Parade on November 10, 2012;
25             B.      Permanent injunctive relief enjoining Defendant from enforcing the 2012 Auburn
26   Veterans Day Parade rules and regulations and using them in future years for Defendant’s annual
27   Veterans Day Parade;
28
               C.      A declaratory judgment that the 2012 Auburn Veterans Day Parade rules and
29
     regulations are unconstitutional on their face and as applied;

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1            D.       Attorneys’ fees and costs pursuant to 42 U.S.C. § 1988, or such other authority as
2    may authorize such an award; and
3            E.       Such other relief as this Court deems proper.
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6
     DATED: November 5, 2012                        By:      /s/ Sarah A. Dunne
7
                                                          Sarah A. Dunne, WSBA #34869
8                                                         dunne@aclu-wa.org
9                                                   By:      /s/ La Rond Baker
10                                                        La Rond Baker, WSBA #43610
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15                                                        David Whedbee, WSBA #35977
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